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                                    EXHIBIT A

                       Proposed Disclosure Statement Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


     In re:                                                  Chapter 11
                            1
     USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                           Debtor.


                      ORDER APPROVING THE DISCLOSURE STATEMENT
                         AND PLAN CONFIRMATION PROCEDURES

              This matter came before the Court on the Debtor’s Motion For Order Approving The

 Disclosure Statement And Plan Confirmation Procedures (the “Motion”), filed by USA

 Gymnastics, as debtor and debtor in possession (the “Debtor”) for the entry of an order




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  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 1099 N. Meridian St., Suite 800, Indianapolis, Indiana 46204.
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 (a) approving the Disclosure Statement; (b) establishing the voting deadline, and other related

 dates and deadlines in connection with voting on the Plan; (c) approving procedures for soliciting,

 receiving, and tabulating votes on the Plan and for filing objections to the Plan; (d) approving the

 manner and forms of notice and other related documents; and (e) granting other relief relating

 thereto as set forth therein; and the Court finds that (i) it has jurisdiction over this matter pursuant

 to 28 U.S.C. § 1334; (ii) this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A)

 and (L); (iii) the relief requested in the Motion is in the best interests of the Debtor, its estate, and

 creditors; (iv) the Debtor has filed the Disclosure Statement and the Plan with the Court; (v) the

 Debtor has served the Disclosure Statement Hearing Notices on the Debtor’s creditors; (vi) the

 Debtor has served the Motion, the Disclosure Statement Hearing Notice, the Disclosure Statement,

 and the Plan on the U.S. Trustee, the Survivors’ Committee, the Indiana Attorney General, and all

 parties who have filed requests for notices under Bankruptcy Rule 2002; (vii) certificates of service

 of the notice of the hearing on the Motion have been filed with the Court, and establish due and

 proper notice under the circumstances; and after due deliberation, and good and sufficient cause

 appearing therefore, the Court hereby determines the Motion should be GRANTED.

           IT IS HEREBY FOUND THAT:

           A.      Notice of the hearing to approve the Disclosure Statement was provided to

 substantially all creditors, the U.S. Trustee, the Survivors’ Committee, and other parties in interest

 of the Debtor in accordance with Bankruptcy Rules 2002 and 3017(a), and no further or additional

 notice is required.

           B.      The Disclosure Statement filed in the Debtor’s chapter 11 case (as the same may

 have been amended and/or revised from time to time, including in connection with the Disclosure


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     Capitalized terms used herein and not defined shall have the meaning given to them in the Motion.


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 Statement Hearing) contains “adequate information” within the meaning of Section 1125 of the

 Bankruptcy Code.

        C.      The forms of Ballot for each Voting Class, attached hereto as Exhibits 1-6,

 respectively, are approved. The forms of Ballot are sufficiently consistent with Official Form

 No. 314, adequately address the particular needs of the Debtor’s chapter 11 case, and are

 appropriate for each Class of Claims entitled to vote to accept or reject the Plan.

        D.      Ballots need not be provided to the holders of Claims in the Non-Voting Classes

 because the Plan provides that such Classes are unimpaired and, therefore, deemed to accept the

 Plan, or receive nothing under the Plan and are deemed to reject the Plan. The form of the Notice

 Of Non-Voting Status to be sent to holders of Claims in the Non-Voting Classes, substantially in

 the form attached hereto as Exhibit 10, complies with Bankruptcy Rule 3017 and adequately

 addresses the particular needs of the Debtor’s chapter 11 case.

        E.      The period set forth below during which the Plan Proponents may solicit

 acceptances to the Plan is a reasonable and adequate period of time for creditors to make an

 informed decision to accept or reject the Plan.

        F.      The procedures for the solicitation and tabulation of votes to accept or reject the

 Plan provide for a fair and equitable voting process and are consistent with Section 1126 of the

 Bankruptcy Code.

        G.      The Debtor’s Cover Letter, the Survivors’ Committee’s Letter, and the

 Confirmation Hearing Notice, substantially in the form attached hereto as Exhibits 7, 8, and 9,

 respectively; the procedures set forth below for providing notice to all creditors of the time, date,

 and place of the Confirmation Hearing; and the contents of the Solicitation Packages comply with

 Bankruptcy Rules 2002 and 3017 and constitute sufficient notice to all interested parties.




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        NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

        1.       The Motion is granted as set forth herein.

 I.     Approval Of The Disclosure Statement And Notice Of Hearing.

        2.       The Disclosure Statement is approved pursuant to section 1125 of the Bankruptcy

 Code and provides holders of Claims entitled to vote on the Plan with adequate information to

 make an informed decision as to whether to vote to accept or reject the Plan.

        3.       The Disclosure Statement Hearing Notice, attached to the Motion as Exhibit B,

 filed by the Debtor and served upon parties in interest in the Debtor’s chapter 11 case, constitutes

 adequate and sufficient notice of the hearing to consider approval of the Disclosure Statement, the

 manner in which a copy of the Disclosure Statement (and exhibits thereto, including the Plan)

 could be obtained, and the time fixed for filing objections thereto, in satisfaction of the

 requirements of the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, and the

 Local Rules.

        4.       The Disclosure Statement (including all applicable exhibits thereto) provides

 holders of Claims and other parties in interest with sufficient notice of the injunction, release, and

 exculpation provisions contained in the Plan in satisfaction of the requirements of Bankruptcy

 Rule 3016(c).

 II.    Approval Of The Timeline For Soliciting Votes, Voting On The Plan, And For Filing
        Objections To The Plan.

        5.       The following dates are hereby established (subject to modification as needed) with

 respect to the solicitation of votes to accept the Plan, the filing of objections to the Plan, and

 the confirmation of the Plan:

                 a. Solicitation Deadline: The Debtor shall distribute Solicitation Packages to
                    holders of Claims entitled to vote to accept or reject the Plan on or before
                    October 8, 2021 (the “Solicitation Deadline”);



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               b. Voting Deadline: All Holders of Claims entitled to vote to accept or reject the
                  Plan and who choose to vote to accept or reject the Plan must properly execute,
                  complete, and deliver their respective Ballots such that they are actually
                  received by the Debtor’s Balloting Agent on or before November 8, 2021 (the
                  “Voting Deadline”);
               c. Filing the Voting Report: The Voting Report must be filed with the Court no
                  later than November 12, 2021, at 11:59 p.m. (prevailing Eastern time) (the
                  “Voting Report Filing Deadline”);
               d. Plan Objection Deadline: Objections, if any, to the confirmation of the Plan
                  must be filed with the Court on or before November 19, 2021, at 11:59 p.m.
                  (prevailing Eastern time) (the “Plan Objection Deadline”);
               e. Plan Proponents’ Reply Deadline: The Plan Proponents may file omnibus
                  responses to any objections to confirmation of the Plan on or before
                  December 3, 2021, at 11:59 p.m. (prevailing Eastern time) (the “Plan Reply
                  Deadline”); and,
               f. Confirmation Hearing: The hearing at which the Court will consider
                  confirmation of the Plan (the “Confirmation Hearing”) is set for December 8-
                  9, 2021, and will begin at 10:00 a.m. (prevailing Eastern time) each day.

 III.   Approval Of The Form Of, And Distribution Of, Solicitation Materials And
        Solicitation Packages.

        6.     On or before the Solicitation Deadline, solicitation packages (the “Solicitation

 Packages”) shall be transmitted to those holders of Claims in the Voting Classes entitled to vote

 to accept or reject the Plan as of the date this Disclosure Statement Order is entered. The

 Solicitation Packages shall include the Disclosure Statement, the exhibits to the Disclosure

 Statement (including the Plan), this Disclosure Statement Order (excluding exhibits), and the

 following, the form of each of which is hereby approved:

               a. the Class 5 Ballot, substantially in the form attached hereto as Exhibit 1;
               b. the Class 6 Ballot, substantially in the form attached hereto as Exhibit 2;
               c. the Class 7 Ballot, substantially in the form attached hereto as Exhibit 3;
               d. the Class 8 Ballot, substantially in the form attached hereto as Exhibit 4;
               e. the Class 9 Ballot, substantially in the form attached hereto as Exhibit 5;
               f. the Class 10 Ballot, substantially in the form attached hereto as Exhibit 6;




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                g. the Debtor’s Cover Letter to holders of Claims in the Voting Classes urging
                   such parties to vote in favor of the Plan, substantially in the form attached hereto
                   as Exhibit 7;
                h. the Survivors’ Committee’s Letter to holders of Class 6 Abuse Claims
                   recommending that such claimants vote to accept the Plan, substantially in the
                   form attached hereto as Exhibit 8; and
                i. the Confirmation Hearing Notice, substantially in the form attached hereto as
                   Exhibit 9.

        7.      The Solicitation Packages provide holders of Claims entitled to vote to accept or

 reject the Plan with adequate information to make informed decisions with respect to voting on

 the Plan in accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy

 Rules, including Bankruptcy Rules 2002(b) and 3017(d), and the Local Rules, including Local

 Rule 3018-1.

        8.      The Debtor, through the Balloting Agent, shall distribute the Solicitation Packages

 to all holders of Claims entitled to vote on the Plan on or before the Solicitation Deadline by first-

 class U.S. mail, or by e-mail if the Debtor does not have a mailing address for the holder of a

 Claim. Such service shall satisfy the requirements of the Bankruptcy Code, the Bankruptcy Rules,

 and the Local Rules. The Debtor is authorized, but not directed or required, to distribute

 electronically the Plan, the Disclosure Statement, and this Disclosure Statement Order to holders

 of Claims entitled to vote to accept or reject the Plan.

        9.      For Class 6 Abuse Claimants who stated on their Proofs of Claim that they are

 represented by counsel, the Debtor, through the Balloting Agent, shall distribute the Solicitation

 Packages on or before the Solicitation Deadline by first-class U.S. mail to both the Class 6 Abuse

 Claimant and his or her counsel, and by electronic mail to Class 6 Abuse Claimants’ counsel (to

 the extent the Plan Proponents have electronic mail addresses for such counsel), and such service

 shall satisfy the requirements of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.




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        10.     On or before the Solicitation Deadline, the Debtor, through the Balloting Agent,

 shall provide (a) Solicitation Packages (excluding the Ballots and the Cover Letter) to the U.S.

 Trustee, the Survivors’ Committee, the Indiana Attorney General, and all parties who have filed

 requests for notices under Bankruptcy Rule 2002 as of the date this Disclosure Statement Order is

 entered, and (b) the Confirmation Hearing Notice to all known holders of Claims.

        11.     Except to the extent the Debtor determines otherwise, the Debtor is not required to

 provide Solicitation Packages to holders of Claims in Non-Voting Classes. Instead, on or before

 the Solicitation Deadline, the Debtor, through the Balloting Agent, shall mail a Notice Of Non-

 Voting Status in lieu of Solicitation Packages, substantially in the form attached hereto as

 Exhibit 10, to those parties who are not entitled to vote on the Plan.

        12.     The Debtor is not required to mail Solicitation Packages or other solicitation

 materials to: (a) holders of Claims that have already been paid in full during the Debtor’s

 chapter 11 case, or (b) any party to whom the Disclosure Statement Hearing Notice was sent but

 was subsequently returned as undeliverable.

 IV.    Approval Of The Solicitation And Voting Procedures.

        13.     The Debtor is authorized to solicit, receive, and tabulate votes to accept or reject

 the Plan in accordance with the Solicitation and Voting Procedures set forth herein, which are

 hereby approved in their entirety.

        14.     Solely for the purpose of voting to accept or reject the Plan and not for the purpose

 of the allowance of, or distribution on account of, any Claims, and without prejudice to the rights

 of the Debtor in any other context, the following Solicitation and Voting Procedures are approved:

                a. Allowance of Claims for Voting Purposes:
                      i.    If a Claim is deemed Allowed under the Plan, such Claim shall be
                            Allowed for voting purposes in the deemed Allowed amount set forth in
                            the Plan.


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                       ii.   If a Claim is partially liquidated and partially unliquidated, such Claim
                             shall be allowed in the liquidated amount solely for purposes of voting
                             on the Plan.
                      iii.   The holders of Claims in Classes 6, 7, 8, 9, and 10 shall have their
                             Claims temporarily allowed to vote and allocated a Claim in the amount
                             of $1.00 for voting purposes only; provided, however, this allocation is
                             made solely to facilitate the ability of holders of Claims in Classes 6, 7,
                             8, 9, and 10 to vote to accept or reject the Plan, because the Claims in
                             such Classes are unliquidated, does not reflect any assessment of the
                             value of such Claims, and shall not have any bearing on the value of
                                                                                      3
                             such Claims for purposes of allowance or distribution.
                      iv.    Claims scheduled as contingent, unliquidated, or disputed, and for
                             which no proof of claim has been filed, are disallowed for voting
                             purposes.
                       v.    Claims scheduled by the Debtor for $0.00, and for which no proof of
                             claim has been filed, as well as proofs of claim filed for $0.00, are
                             disallowed for voting purposes.
                      vi.    If a Claim has been amended, the Claimant shall be entitled to vote on
                             account of the subsequently filed amending Claim, and the Claimant
                             shall not be entitled to vote on account of the previously filed amended
                             Claim, regardless of whether the Debtor has objected to such amended
                             Claim.
                      vii.   Any entity who has filed or purchased duplicate Claims within the same
                             Voting Class shall be provided with only one Solicitation Package and
                             one Ballot for voting a single Claim in such Voting Class, regardless of
                             whether the Debtor has objected to such duplicate Claims.
                     viii.   To the extent any entity holds or has filed more than one non-duplicative
                             Claim in a particular Voting Class, such entity must vote all of its non-
                             duplicative Claims in a particular Voting Class either to accept or reject
                             the Plan, and may not split its vote within a particular Voting Class. For
                             the purposes of the numerosity requirement of Section 1126(c) of the
                             Bankruptcy Code, separate Claims held by a single entity in a particular
                             Class shall be aggregated as if such entity held one Claim against the
                             Debtor in such Class, and the vote on account of such Claims shall be
                             treated as a single vote to accept or reject the Plan.
                      ix.    Ballots must be returned to and actually received by the Balloting Agent
                             on or before the Voting Deadline by (1) the electronic ballot submission
                             platform on the Balloting Agent’s website (the “E-Ballot Platform”),
                             or (2) mail, overnight, or personal delivery. The E-Ballot Platform is an

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  A portion of the Claim in Class 8 is liquidated. Nevertheless, Class 8 will be temporarily allowed only in
 the amount of $1.00 for voting purposes only. The holder of the Claim in Class 8 will vote only in Class 8
 and not in any other Class.


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                       online customized balloting portal to be maintained by the Balloting
                       Agent. Instructions for casting an electronic Ballot may be found on the
                       Ballot Agent’s website at https://omniagentsolutions.com/USAG-
                       SABallots      (Abuse     Claims     and the FCR            Claim) or
                       https://omniagentsolutions.com/USAG-Ballots (all other Claims). The
                       encrypted ballot data and audit trail created by each electronic
                       submission on the E-Ballot Platform will become part of the record of
                       any electronic Ballot submitted in this manner and the electronic
                       signature will be deemed to be an original signature that is legally valid
                       and effective. Any Ballot submitted by any means other than (1) the E-
                       Ballot Platform or (2) mail, overnight, or personal delivery to the
                       Balloting Agent will not be counted.
                 x.    If any Ballot is validly executed and submitted to the Balloting Agent
                       on or before the Voting Deadline but does not indicate either acceptance
                       or rejection of the Plan, such Ballot will be counted as an acceptance of
                       the Plan.
                 xi.   Any validly executed and timely Ballot that indicates both acceptance
                       and rejection of the Plan shall be counted as an acceptance of the Plan.
                xii.   If the Debtor’s Balloting Agent receives more than one Ballot on the
                       same day and on account of the same Claim, and each Ballot is voted
                       inconsistently, such Ballots will constitute an acceptance of the Plan.
               xiii.   Holders of Class 6 Abuse Claims may submit their Ballots themselves
                       or direct their counsel to submit such Ballots on their behalf. If a Class 6
                       Abuse Claimant elects to vote their Class 6 Ballot themselves, the Ballot
                       shall contain such Class 6 Abuse Claimant’s original signature (or
                       electronic signature if submitted through the E-Balloting Platform). If a
                       Class 6 Abuse Claimant directs their counsel to submit their Class 6
                       Ballot on their behalf, counsel shall sign such Class 6 Ballot and shall
                       include with such Class 6 Ballot a declaration, submitted under penalty
                       of perjury, that such counsel is authorized to file such Class 6 Ballot on
                       behalf of such Class 6 Abuse Claimant.
            b. Challenges To Allowance Of Claims For Voting Purposes. If any entity seeks
               to challenge the disallowance of their Claim for voting purposes, or the amount
               in which their Claim is Allowed for voting purposes, such entity shall file with
               the Court and serve upon the Debtor, the Survivors’ Committee, and the U.S.
               Trustee a motion for an order pursuant to Bankruptcy Rule 3018(a) (a “Rule
               3018(a) Motion”) temporarily allowing such Claim in a requested amount for
               purposes of voting to accept or reject the Plan on or before the date that is at
               least three (3) business days prior to the Voting Deadline. As to any entity filing
               a Rule 3018(a) Motion, such entity’s Ballot shall not be counted unless
               temporarily allowed by the Court for voting purposes, after notice and a
               hearing, which hearing may be held contemporaneously with the Confirmation
               Hearing.




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            c. Ballots Not Counted. The following Ballots shall not be counted or considered
               for any purpose in determining whether the Plan has been accepted or rejected:
                  i.   Any Ballot that is illegible or contains insufficient information to permit
                       the identification of the holder of the Claim.
                 ii.   Any Ballot sent to the Plan Proponents, the Plan Proponents’ agents or
                       representatives (other than the Balloting Agent), or the Bankruptcy
                       Court; provided, however, that the Debtor shall transfer any hard copies
                       of Ballots transmitted to the Debtor at its headquarters at 1099 N.
                       Meridian Street, Suite 800, Indianapolis, Indiana 46204 on or before the
                       Voting Deadline to the Balloting Agent for counting, and the Court may,
                       in its discretion, transfer or direct the transfer of any Ballots sent to the
                       Court on or before the Voting Deadline to the Balloting Agent for
                       counting.
                iii.   Any Ballot transmitted to the Balloting Agent by facsimile or other
                       means not specifically approved herein.
                 iv.   Any Class 6 Ballot that does not contain an original signature by a
                       Class 6 Claimant (or electronic signature if submitted via the E-
                       Balloting Platform); provided, however, that the signature of a Class 6
                       Abuse Claimant’s counsel on the Ballot will be counted for such Class 6
                       Abuse Claimant if such counsel includes with the Class 6 Ballot a
                       declaration, submitted under penalty of perjury, that such counsel is
                       authorized to file such Class 6 Ballot on behalf of such Class 6 Abuse
                       Claimant.
                 v.    Any Ballot cast by an entity that (1) does not hold a Claim in a Voting
                       Class or (2) is not otherwise entitled to vote pursuant to the procedures
                       described herein.
            d. Rejected Ballots. Except as otherwise provided herein and subject to any
               contrary order of the Court, the Debtor shall be entitled to reject as invalid, and
               exclude from counting for voting purposes, any Ballot that is not timely
               submitted on or prior to the Voting Deadline. Expressly reserved are the
               Debtor’s rights to reject any and all Ballots that are not in proper form, the
               acceptance of which, in the opinion of the Debtor, would not be in accordance
               with the provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local
               Rules, or this Disclosure Statement Order. The Balloting Agent shall include a
               schedule of any rejected Ballots, and the reason(s) for their rejection, in the
               voting report required by Local Rule 3018-1(c) (the “Voting Report”), which
               shall be filed by the Voting Report Filing Deadline.
            e. Multiple Ballots. If multiple Ballots are received from the same holder of a
               Claim with respect to the same Claim prior to the Voting Deadline, the last
               validly executed Ballot timely received shall count for voting purposes, subject
               to contrary order of the Court.
            f. No Vote-Splitting. Any Ballot that partially rejects and partially accepts the
               Plan will not be counted.


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                g. Defective Ballots: The Debtor, subject to contrary order of the Court, may
                   waive any defects or irregularities as to any particular Ballot at any time, either
                   before or after the Voting Deadline; provided, however, that (1) any such
                   waivers shall be documented in the Voting Report; (2) neither the Debtor, nor
                   any other entities, will be under any duty to provide notification of such defects
                   or irregularities other than as provided in the Voting Report, nor will any such
                   party incur any liability for failure to provide such notification; and (3) unless
                   waived by the Debtor, subject to contrary order of the Court, any defects or
                   irregularities associated with the delivery of Ballots must be cured prior to the
                   Voting Deadline or such Ballots will not be counted.
                h. Returned Solicitation Packages And Notices. If any Solicitation Packages,
                   Disclosure Statement Hearing Notices, Confirmation Hearing Notices, or other
                   mailings contemplated by this Disclosure Statement Order are returned as
                   undeliverable by the United States Postal Service or other carrier, or by e-mail,
                   the Debtor shall not be required to re-send such mailings to the applicable
                   entity, and the Debtor’s notice obligations under the Bankruptcy Code,
                   Bankruptcy Rules, Local Rules, and this Disclosure Statement Order with
                   respect to each such mailing shall be deemed satisfied. The Debtor shall only
                   be required to re-send any Solicitation Package, notice, or other mailing if the
                   entity whose service was returned as undeliverable provides the Balloting
                   Agent with an accurate mailing address not less than ten (10) calendar days
                   prior to the Solicitation Deadline. For the avoidance of doubt, if any entity has
                   changed its mailing address during this chapter 11 case, the burden rests
                   exclusively upon such entity to advise the Balloting Agent of its new address.
                i. Non-Substantive Or Immaterial Modification: The Plan Proponents shall be
                   permitted to make non-substantive or immaterial changes to the Disclosure
                   Statement, Plan, Ballots, Disclosure Statement Hearing Notice, Confirmation
                   Hearing Notice, Debtor’s Cover Letter, Survivors’ Committee’s Letter, Notice
                   Of Non-Voting Status, and any other related documents approved by this
                   Disclosure Statement Order without further order of the Court, including,
                   without limitation, changes to correct typographical and grammatical errors and
                   to make conforming changes among the Disclosure Statement, the Plan, and
                   any other materials in the Solicitation Packages prior to their distribution.

        15.     All votes to accept or reject the Plan must be clearly set forth on the appropriate

 Ballot, each of which must be properly executed, completed, and delivered in accordance with and

 pursuant to the Solicitation and Voting Procedures so that all Ballots are actually received by the

 Balloting Agent on or before the Voting Deadline.

        16.     Any Ballots received after the Voting Deadline may be counted only in the sole and

 absolute discretion of the Plan Proponents.



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 V.     Approval Of The Confirmation Hearing Notice And Timeline For Filing Objections
        To The Plan.

        17.     The Confirmation Hearing Notice, the form of which is attached hereto as

 Exhibit 9, constitutes adequate and sufficient notice of the Confirmation Hearing, the manner in

 which a copy of the Plan can be obtained, and the time fixed for filing objections thereto, in

 satisfaction of the requirements of the applicable provisions of the Bankruptcy Code, the

 Bankruptcy Rules, and the Local Rules. The Debtor shall publish the Confirmation Hearing Notice

 (in a format modified for publication) one time on or before October 8, 2021 in the National Edition

 of USA Today. The Confirmation Hearing Notice, as well as the Plan and Disclosure Statement,

 shall be posted on the Balloting Agent’s website for this chapter 11 case at:

 https://omniagentsolutions.com/usagymnastics.

        18.     All objections to confirmation of the Plan or requests for modifications to the Plan,

 if any, must: (a) be in writing; (b) conform to the Bankruptcy Rules, the Local Rules, and any

 orders of the Court; (c) state the name and address of the objecting party and the amount and nature

 of the Claim of such objecting party; (d) state with particularity the basis and nature of any

 objection to confirmation of the Plan and, if practicable, provide a proposed modification or

 additional suggested language to amend the Plan in a manner that would resolve such objection;

 (e) be filed, contemporaneously with a proof of service, with the Court on or before the Plan

 Objection Deadline on November 19, 2021 at 11:59 p.m. (prevailing Eastern time); and (f) be

 served on the Debtor, the Survivors’ Committee, and the U.S. Trustee, so as to be actually received

 by the Plan Objection Deadline. Objections to the Plan will not be considered by the Court unless

 such objections are timely filed with the Court by the Plan Objection Deadline.

        19.     The Plan Proponents each shall be permitted to file omnibus replies in support of

 confirmation of the Plan on or before the Plan Reply Deadline, to the extent multiple objections to



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 confirmation are timely filed and served, and otherwise comply with the requirements immediately

 above.

          20.   The Debtor is authorized to take all actions necessary to effectuate the relief granted

 pursuant to this Order in accordance with the Motion.

          21.   The terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry.

          22.   The Court retains jurisdiction with respect to all matters arising from or related to

 the implementation of this Order.


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                                     EXHIBIT 1

                       Class 5 Ballot (General Unsecured Claims)
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 BallotID: [____]
 Case No: 18-9108                                        Claimant: [____]                  Vote Amount: [____]
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION


     In re:                                                   Chapter 11
                               1
     USA GYMNASTICS,                                          Case No. 18-09108-RLM-11

                              Debtor.


                  CLASS 5 BALLOT FOR ACCEPTING OR REJECTING PLAN

         USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11
 case (the “Debtor”), and the Additional Tort Claimants Committee of Sexual Abuse Survivors
 (the “Survivors’ Committee” and, together with the Debtor, the “Plan Proponents”) filed the
 Joint Chapter 11 Plan Of Reorganization Proposed By USA Gymnastics And The Additional Tort
 Claimants Committee Of Sexual Abuse Survivors (the “Plan”) on August 31, 2021. This Ballot is
 submitted to you by the Plan Proponents to enable you to accept or reject the Plan. Capitalized
 terms used in this Ballot that are not otherwise defined herein have the meaning given to them in
 the Plan.
         The Court has approved the Disclosure Statement For Joint Chapter 11 Plan Of
 Reorganization Proposed By USA Gymnastics And The Additional Tort Claimants Committee Of
 Sexual Abuse Survivors (the “Disclosure Statement”). The Disclosure Statement provides
 information to assist you in deciding how to vote your Ballot, and is enclosed with this Ballot. The
 Court’s approval of the Disclosure Statement does not indicate approval of the Plan by the Court.
 Copies of the Disclosure Statement and the Plan are available to download for free at:
 https://omniagentsolutions.com/usagymnastics/.
        You should review the Plan and Disclosure Statement before you vote. You may wish to
 seek legal advice concerning the Plan and your classification and treatment under the Plan. Your
 claim has been placed in Class 5 under the Plan. If you hold more than one claim in Class 5, you
 must vote all such claims on this single Ballot. Section 7.1.2 of the Plan provides that Holders of
 Allowed Class 5 Claims will receive payment from the Reorganized Debtor of 80% of their
 Allowed General Unsecured Claims, payable in equal installments on August 15, 2022, August
 15, 2023, and August 15, 2024. Section 7.1.2 of the Plan further provides that Holders of Allowed
 General Unsecured Claims may elect to reduce their Claim to $500.00, in which case their Claim


 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 1099 N. Meridian St., Suite 800, Indianapolis, Indiana 46204.
Case 18-09108-RLM-11             Doc 1553-1   Filed 08/31/21        EOD 08/31/21 17:54:03       Pg 17 of
                                                  61

 BallotID: [____]
 Case No: 18-9108                                     Claimant: [____]              Vote Amount: [____]
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]




 will be treated as a Class 4 General Unsecured Convenience Claim for purposes of the Plan. If a
 Holder of an Allowed Class 5 Claim makes this election by so designating on this Ballot, that
 Claim will be paid $500.00 in Cash on or as soon as reasonably practicable following the Effective
 Date, or upon such terms as may be agreed in writing by the Claimant and the Debtor or
 Reorganized Debtor.
         The Plan can be confirmed by the Bankruptcy Court and thereby made binding on you if it
 is accepted by the holders of two-thirds in amount and more than one-half in number of claims in
 each impaired class that vote on the Plan, and if it otherwise satisfies the requirements of
 Section 1129(a) of the Bankruptcy Code. If not all impaired classes vote to accept the Plan, the
 Bankruptcy Court may nevertheless confirm the Plan if at least one impaired class accepts the Plan
 and the Court finds that the Plan provides fair and equitable treatment to, and does not discriminate
 unfairly against, the class or classes rejecting it, and otherwise satisfies the requirements of
 Section 1129(b) of the Bankruptcy Code.
                             THE VOTING DEADLINE IS NOVEMBER 8, 2021

 You may submit your Ballot using one of two methods: (1) by electronic submission via the
 Balloting Agent’s E-Ballot Platform at https://omniagentsolutions.com/USAG-Ballots, or
 (2) by mail, overnight, or personal delivery to the Balloting Agent at USA Gymnastics Ballot
 Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA
 91367. You are highly encouraged to submit your Ballot via the E-Ballot Platform.
 If your Ballot is submitted via the Balloting Agent’s E-Ballot Platform, it must be actually
 received by the Balloting Agent on or before November 8, 2021 at 11:59 p.m. (ET). If your
 Ballot is submitted via mail, overnight, or personal delivery, it must be actually received by
 the Balloting Agent on or before November 8, 2021 at 5:00 p.m. (ET). If your Ballot is not
 received on or before the Voting Deadline, and such deadline is not extended in the sole and
 absolute discretion of the Plan Proponents, your vote will not be counted for purposes of
 confirmation of the Plan.
 If your Ballot is submitted by any means other than (1) electronic submission via the
 Balloting Agent’s E-Ballot Platform, or (2) mail, overnight, or personal delivery to the
 Balloting Agent’s address listed immediately above, your vote will not be counted for
 purposes of confirmation of the Plan.




                                                  2
Case 18-09108-RLM-11         Doc 1553-1      Filed 08/31/21         EOD 08/31/21 17:54:03       Pg 18 of
                                                 61

 BallotID: [____]
 Case No: 18-9108                                     Claimant: [____]              Vote Amount: [____]
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]




         If your claim is partially liquidated and partially unliquidated, you are only allowed the
 liquidated amount for voting purposes. Once you have submitted your executed Ballot, you may
 change your vote to accept or reject the Plan by casting a superseding Ballot so that it is received
 on or before the Voting Deadline. If you cast more than one Ballot voting the same claim prior to
 the Voting Deadline, only the last Ballot timely received by the Debtor’s Balloting Agent will be
 counted. If the Debtor’s Balloting Agent receives more than one Ballot on the same day that are
 voted inconsistently, such Ballots will constitute an acceptance of the Plan. Any Ballot that is
 illegible or that contains insufficient information to permit the identification of the claimant will
 not be counted.
        This Ballot does not constitute, and shall not be deemed to be, a proof of claim against the
 Debtor or any admission with respect to any claim by the Debtor.
        If the Plan is confirmed by the Bankruptcy Court, it will be binding upon you whether
 or not you vote.




                                                  3
Case 18-09108-RLM-11            Doc 1553-1     Filed 08/31/21         EOD 08/31/21 17:54:03     Pg 19 of
                                                   61

 BallotID: [____]
 Case No: 18-9108                                       Claimant: [____]            Vote Amount: [____]
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]




         Item 1. Amount of Class 5 General Unsecured Claim. The undersigned hereby certifies
 that the undersigned is the Holder (or the authorized signatory of such Holder) of a Class 5 General
 Unsecured Claim against the Debtor in the aggregate amount provided below. The Plan provides
 that Holders of Allowed Class 5 Claims will receive payment from the Reorganized Debtor of
 80% of their Allowed General Unsecured Claims, payable in equal installments on August 15,
 2022, August 15, 2023, and August 15, 2024.


                                           Amount of Class 5
                                        General Unsecured Claim:


                                       $ _____________________



         Item 2. Convenience Claim Election. Check the box below if you elect to have your
 Class 5 General Unsecured Claim(s) reduced to the amount of Five Hundred Dollars ($500.00)
 and, therefore, to be treated as a Class 4 General Unsecured Convenience Claim. By making this
 Class 4 General Unsecured Convenience Claim election (the “Convenience Claim Election”),
 you will be deemed to accept the Plan with respect to your General Unsecured Claim(s),
 reduced to the value of $500.00.
                        The undersigned certifies that it elects to reduce the amount of its Allowed
                □       General Unsecured Claim(s) to Five Hundred Dollars ($500.00), such that it
                        will be entitled to receive distributions as a Holder of a Class 4 General
                        Unsecured Convenience Claim pursuant to Section 6.4 of the Plan.




                                                    4
Case 18-09108-RLM-11            Doc 1553-1     Filed 08/31/21         EOD 08/31/21 17:54:03     Pg 20 of
                                                   61

 BallotID: [____]
 Case No: 18-9108                                       Claimant: [____]            Vote Amount: [____]
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]




       Item 3. Vote on the Plan. BY ACCEPTING THE PLAN, IF THE PLAN IS
 CONFIRMED, YOU WILL BE DEEMED TO HAVE CONCLUSIVELY, ABSOLUTELY,
 UNCONDITIONALLY, IRREVOCABLY, AND FOREVER AGREED TO THE TERMS
 OF THE PLAN, INCLUDING THE INJUNCTIONS AND EXCULPATIONS IN THE
 PLAN.
       The undersigned Holder of a Class 5 General Unsecured Claim against the Debtor in the
 amount identified in Item 1 above, and who did not made the Convenience Claim Election, votes
 to:
                                           (Check one box only)

                 □      Accept the Plan.

                 □      Reject the Plan.




                                                    5
Case 18-09108-RLM-11           Doc 1553-1    Filed 08/31/21        EOD 08/31/21 17:54:03      Pg 21 of
                                                 61
 BallotID: [____]
 Case No: 18-9108                                    Claimant: [____]             Vote Amount: [____]
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]




        Item 4. Agreements, Certifications, and Acknowledgements. By signing this Ballot, the
 undersigned acknowledges and certifies that the undersigned is the Holder of the Class 5 General
 Unsecured Claim described above or has the power and authority to vote to accept or reject the
 Plan on behalf of such Holder. The undersigned understands that, if this Ballot is validly executed
 but does not indicate either acceptance or rejection of the Plan, this Ballot will be counted as an
 acceptance of the Plan. Additionally, the undersigned understands that if this Ballot is validly
 executed and indicates both acceptance and rejection of the Plan, this Ballot will be counted as an
 acceptance of the Plan.

                                   Name of Claimant _____________________________________


                        Authorized Signature (original, _____________________________________
                                       not electronic)

                                  Name of Signatory _____________________________________

                       If Authorized Agent, Name and _____________________________________
                                                Title

                                      Street Address _____________________________________

                                City, State, Zip Code _____________________________________

                                    Date Completed _____________________________________


 Return this signed ballot on or before the Voting Deadline of November 8, 2021 to:

          https://omniagentsolutions.com/USAG-Ballots

 or

          USA Gymnastics Ballot Processing
          c/o Omni Agent Solutions
          5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367




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                                    EXHIBIT 2

                           Class 6 Ballot (Abuse Claims)
Case 18-09108-RLM-11               Doc 1553-1    Filed 08/31/21        EOD 08/31/21 17:54:03           Pg 23 of
                                                     61
 BallotID: [____]
 Case No: 18-9108                                        Claimant: [____]                  Vote Amount: [____]
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION


     In re:                                                   Chapter 11
                               1
     USA GYMNASTICS,                                          Case No. 18-09108-RLM-11

                              Debtor.


                  CLASS 6 BALLOT FOR ACCEPTING OR REJECTING PLAN

         USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11
 case (the “Debtor”), and the Additional Tort Claimants Committee of Sexual Abuse Survivors
 (the “Survivors’ Committee” and, together with the Debtor, the “Plan Proponents”) filed the
 Joint Chapter 11 Plan Of Reorganization Proposed By USA Gymnastics And The Additional Tort
 Claimants Committee Of Sexual Abuse Survivors (the “Plan”) on August 31, 2021. This Ballot is
 submitted to you by the Plan Proponents to enable you to accept or reject the Plan. Capitalized
 terms used in this Ballot that are not otherwise defined herein have the meaning given to them in
 the Plan.
         The Court has approved the Disclosure Statement For Joint Chapter 11 Plan Of
 Reorganization Proposed By USA Gymnastics And The Additional Tort Claimants Committee Of
 Sexual Abuse Survivors (the “Disclosure Statement”). The Disclosure Statement provides
 information to assist you in deciding how to vote your Ballot, and is enclosed with this Ballot. The
 Court’s approval of the Disclosure Statement does not indicate approval of the Plan by the Court.
 Copies of the Disclosure Statement and the Plan are available to download for free at:
 https://omniagentsolutions.com/usagymnastics/.
        You should review the Plan and Disclosure Statement before you vote. You may wish to
 seek legal advice concerning the Plan and your classification and treatment under the Plan. Your
 claim has been placed in Class 6 under the Plan.
         The Plan can be confirmed by the Bankruptcy Court and thereby made binding on you if it
 is accepted by the holders of two-thirds in amount and more than one-half in number of claims in
 each impaired class that vote on the Plan, and if it otherwise satisfies the requirements of
 Section 1129(a) of the Bankruptcy Code. If not all impaired classes vote to accept the Plan, the
 Bankruptcy Court may nevertheless confirm the Plan if at least one impaired class accepts the Plan
 and the Court finds that the Plan provides fair and equitable treatment to, and does not discriminate

 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 1099 N. Meridian St., Suite 800, Indianapolis, Indiana 46204.
Case 18-09108-RLM-11             Doc 1553-1   Filed 08/31/21        EOD 08/31/21 17:54:03     Pg 24 of
                                                  61
 BallotID: [____]
 Case No: 18-9108                                     Claimant: [____]            Vote Amount: [____]
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]




 unfairly against, the class or classes rejecting it, and otherwise satisfies the requirements of
 Section 1129(b) of the Bankruptcy Code.
                             THE VOTING DEADLINE IS NOVEMBER 8, 2021

 You or your counsel may submit your Ballot using one of two methods:
 (1) by electronic submission via the Balloting Agent’s E-Ballot Platform at
 https://omniagentsolutions.com/USAG-SABallots, or (2) by mail, overnight, or personal
 delivery to the Balloting Agent at USA Gymnastics Ballot Processing, c/o Omni Agent
 Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367. You are highly
 encouraged to submit your Ballot via the E-Ballot Platform.
 If your Ballot is submitted via the Balloting Agent’s E-Ballot Platform, it must be actually
 received by the Balloting Agent on or before November 8, 2021 at 11:59 p.m. (ET). If your
 Ballot is submitted via mail, overnight, or personal delivery, it must be actually received by
 the Balloting Agent on or before November 8, 2021 at 5:00 p.m. (ET). If your Ballot is not
 received on or before the Voting Deadline, and such deadline is not extended in the sole and
 absolute discretion of the Plan Proponents, your vote will not be counted for purposes of
 confirmation of the Plan.
 If your Ballot is submitted by any means other than (1) electronic submission via the
 Balloting Agent’s E-Ballot Platform, or (2) mail, overnight, or personal delivery to the
 Balloting Agent’s address listed immediately above, your vote will not be counted for
 purposes of confirmation of the Plan.

       The Plan’s treatment of your Class 6 Abuse Claim is described in full in the Disclosure
 Statement.
         [Under the Plan, the Trust will be created and your Abuse Claim will be channeled to the
 Trust for payment. The CGL Insurers have each accepted the settlement offers made by the
 Survivors’ Committee and have agreed to fund the Trust in the aggregate amount of
 $425,000,000.00. The additional $2,125,000.00 Twistars Payment will also be contributed to the
 Trust. In exchange for payment from the Trust, Abuse Claimants shall agree to a full and complete
 release of the Debtor, its Estate, the Reorganized Debtor, the Settling Insurers (identified in the
 Disclosure Statement), the Participating Parties (identified in the Disclosure Statement), and all
 known or unknown parties who may claim coverage under any insurance policy issued to the
 Debtor, including the Non-Debtor CGL Settling Insurer Covered Persons (identified in the
 Disclosure Statement). Within ten days after receiving any payment from the Trust, Abuse
 Claimants shall dismiss with prejudice any and all lawsuits that such Abuse Claimants previously




                                                  2
Case 18-09108-RLM-11           Doc 1553-1        Filed 08/31/21          EOD 08/31/21 17:54:03         Pg 25 of
                                                     61
 BallotID: [____]
 Case No: 18-9108                                          Claimant: [____]                Vote Amount: [____]
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]




 brought against the Debtor or any Participating Party and evidence of such dismissal with prejudice
                                            2
 shall be promptly delivered to the Trust.]
         [Under the Plan, the Trust will be created and your Abuse Claim will be channeled to the
 Trust for payment. The Trust will be funded with the payments by the Settling Insurers, the
 $2,125,000.00 Twisters Payment, and the assignment of Insurance Claims. If your Abuse Claim
 is covered by a Non-Settling Insurer’s policy (as identified on Exhibit A to the Plan), you may
 elect to pursue litigation against the Reorganized Debtor and any other defendant subject to the
 terms of the Plan. Importantly, if you elect to pursue litigation, any recovery you obtain will be
                                                                                      3
 limited to proceeds of the Non-Settling Insurer’s policy covering your Abuse Claim.]
        [Under the Plan, you are permitted to prosecute your Abuse Claim against the Reorganized
 Debtor in name only in the courts where such Claim was pending before the Petition Date or the
 court in which such Claim could have been brought, but for the automatic stay imposed by
 Section 362 of the Bankruptcy Code. Importantly, any recovery you obtain will be limited to
                                                                          4
 proceeds of the Non-Settling Insurer’s policy covering your Abuse Claim.]
       Because your claim is unliquidated at this time, your claim is temporarily estimated in the
 amount of $1.00 solely for the purposes of voting and determining acceptances of the Plan. This
 temporary estimation does not reflect any assessment of the value of your claim.
         Once you have submitted your executed Ballot, you may change your vote to accept or
 reject the Plan by casting a superseding Ballot so that it is received on or before the Voting
 Deadline. If you cast more than one Ballot voting the same claim prior to the Voting Deadline,
 only the last Ballot timely received by the Debtor’s Balloting Agent will be counted. If the Debtor’s
 Balloting Agent receives more than one Ballot on the same day that are voted inconsistently, such
 Ballots will constitute an acceptance of the Plan. Any Ballot that is illegible or that contains
 insufficient information to permit the identification of the claimant will not be counted.
        This Ballot does not constitute, and shall not be deemed to be, a proof of claim against the
 Debtor or any admission with respect to any claim by the Debtor.
        If the Plan is confirmed by the Bankruptcy Court, it will be binding upon you whether
 or not you vote.


 2
   To be included in the solicitation version of this Ballot if the Debtor and the Survivors’ Committee jointly
 elect the Full or Partial Settlement Alternative at the Disclosure Statement Hearing and the CGL Insurers
 agree to fund the Total Settlement Demand Amount.
 3
   To be included in the solicitation version of this Ballot if the Debtor and the Survivors’ Committee jointly
 elect the Partial Settlement Option at the Disclosure Statement Hearing.
 4
   To be included in the solicitation version of this Ballot if the Debtor and the Survivors’ Committee jointly
 elect the Litigation Only Alternative at the Disclosure Statement Hearing.


                                                       3
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                                                   61
 BallotID: [____]
 Case No: 18-9108                                       Claimant: [____]            Vote Amount: [____]
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]




 Item 1. Vote on the Plan. BY ACCEPTING THE PLAN, IF THE PLAN IS CONFIRMED,
 YOU WILL BE DEEMED TO HAVE CONCLUSIVELY, ABSOLUTELY,
 UNCONDITIONALLY, IRREVOCABLY, AND FOREVER AGREED TO THE TERMS
 OF THE PLAN, INCLUDING THE RELEASES, INJUNCTIONS, AND EXCULPATIONS
 IN THE PLAN.
          The undersigned Holder of a Class 6 Abuse Claim against the Debtor votes to:
                                           (Check one box only)
                 □      Accept the Plan.

                 □      Reject the Plan.




                                                    4
Case 18-09108-RLM-11           Doc 1553-1    Filed 08/31/21         EOD 08/31/21 17:54:03      Pg 27 of
                                                 61
 BallotID: [____]
 Case No: 18-9108                                     Claimant: [____]             Vote Amount: [____]
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]




 Item 2. Agreements, Certifications, and Acknowledgements. By signing this Ballot, the
 undersigned acknowledges and certifies that the undersigned is the Holder of the Class 6 Abuse
 Claim described above or has the power and authority to vote to accept or reject the Plan on behalf
 of such Holder. The undersigned understands that, if this Ballot is validly executed but does not
 indicate either acceptance or rejection of the Plan, this Ballot will be counted as an acceptance of
 the Plan. Additionally, the undersigned understands that if this Ballot is validly executed and
 indicates both acceptance and rejection of the Plan, this Ballot will be counted as an acceptance of
 the Plan.

                                   Name of Claimant _____________________________________


                        Authorized Signature (original, _____________________________________
                                       not electronic)

                                  Name of Signatory _____________________________________

                       If Authorized Agent, Name and _____________________________________
                                                Title

                                      Street Address _____________________________________

                                City, State, Zip Code _____________________________________

                                    Date Completed _____________________________________


 Return this signed ballot on or before the Voting Deadline of November 8, 2021 to:

          https://omniagentsolutions.com/USAG-SABallots
 or

          USA Gymnastics Ballot Processing
          c/o Omni Agent Solutions
          5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367




                                                  5
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                                    EXHIBIT 3

                       Class 7 Ballot (Personal Injury Claim)
Case 18-09108-RLM-11               Doc 1553-1    Filed 08/31/21        EOD 08/31/21 17:54:03           Pg 29 of
                                                     61

 BallotID: [____]
 Case No: 18-9108                                        Claimant: [____]                  Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION


     In re:                                                   Chapter 11
                               1
     USA GYMNASTICS,                                          Case No. 18-09108-RLM-11

                              Debtor.


                  CLASS 7 BALLOT FOR ACCEPTING OR REJECTING PLAN

         USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11
 case (the “Debtor”), and the Additional Tort Claimants Committee of Sexual Abuse Survivors
 (the “Survivors’ Committee” and, together with the Debtor, the “Plan Proponents”) filed the
 Joint Chapter 11 Plan Of Reorganization Proposed By USA Gymnastics And The Additional Tort
 Claimants Committee Of Sexual Abuse Survivors (the “Plan”) on August 31, 2021. This Ballot is
 submitted to you by the Plan Proponents to enable you to accept or reject the Plan. Capitalized
 terms used in this Ballot that are not otherwise defined herein have the meaning given to them in
 the Plan.
         The Court has approved the Disclosure Statement For Joint Chapter 11 Plan Of
 Reorganization Proposed By USA Gymnastics And The Additional Tort Claimants Committee Of
 Sexual Abuse Survivors (the “Disclosure Statement”). The Disclosure Statement provides
 information to assist you in deciding how to vote your Ballot, and is enclosed with this Ballot. The
 Court’s approval of the Disclosure Statement does not indicate approval of the Plan by the Court.
 Copies of the Disclosure Statement and the Plan are available to download for free at:
 https://omniagentsolutions.com/usagymnastics/.
        You should review the Plan and Disclosure Statement before you vote. You may wish to
 seek legal advice concerning the Plan and your classification and treatment under the Plan. Your
 claim has been placed in Class 7 under the Plan.
         The Plan can be confirmed by the Bankruptcy Court and thereby made binding on you if it
 is accepted by the holders of two-thirds in amount and more than one-half in number of claims in
 each impaired class that vote on the Plan, and if it otherwise satisfies the requirements of
 Section 1129(a) of the Bankruptcy Code. If not all impaired classes vote to accept the Plan, the
 Bankruptcy Court may nevertheless confirm the Plan if at least one impaired class accepts the Plan

 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 1099 N. Meridian St., Suite 800, Indianapolis, Indiana 46204.
Case 18-09108-RLM-11             Doc 1553-1   Filed 08/31/21        EOD 08/31/21 17:54:03      Pg 30 of
                                                  61

 BallotID: [____]
 Case No: 18-9108                                     Claimant: [____]              Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


 and the Court finds that the Plan provides fair and equitable treatment to, and does not discriminate
 unfairly against, the class or classes rejecting it, and otherwise satisfies the requirements of
 Section 1129(b) of the Bankruptcy Code.
                             THE VOTING DEADLINE IS NOVEMBER 8, 2021

 You may submit your Ballot using one of two methods: (1) by electronic submission via the
 Balloting Agent’s E-Ballot Platform at https://omniagentsolutions.com/USAG-Ballots, or
 (2) by mail, overnight, or personal delivery to the Balloting Agent at USA Gymnastics Ballot
 Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA
 91367. You are highly encouraged to submit your Ballot via the E-Ballot Platform.
 If your Ballot is submitted via the Balloting Agent’s E-Ballot Platform, it must be actually
 received by the Balloting Agent on or before November 8, 2021 at 11:59 p.m. (ET). If your
 Ballot is submitted via mail, overnight, or personal delivery, it must be actually received by
 the Balloting Agent on or before November 8, 2021 at 5:00 p.m. (ET). If your Ballot is not
 received on or before the Voting Deadline, and such deadline is not extended in the sole and
 absolute discretion of the Plan Proponents, your vote will not be counted for purposes of
 confirmation of the Plan.
 If your Ballot is submitted by any means other than (1) electronic submission via the
 Balloting Agent’s E-Ballot Platform, or (2) mail, overnight, or personal delivery to the
 Balloting Agent’s address listed immediately above, your vote will not be counted for
 purposes of confirmation of the Plan.

         As the Holder of the Class 7 Personal Injury Claim, if the Plan is confirmed, you will have
 thirty (30) days to recommence the prosecution of your claim in the court where it was pending
 prior to December 5, 2018, or initiate litigation on your claim where such litigation could have
 been brought but for Section 362 of the Bankruptcy Code. If you obtain a judgment on your claim,
 you will only be permitted to satisfy a recovery out of the proceeds of the Debtor’s personal injury
 insurance policy and absolutely no other assets.
       Because your claim is unliquidated at this time, your claim is temporarily estimated in the
 amount of $1.00 solely for the purposes of voting and determining acceptances of the Plan. This
 temporary estimation does not reflect any assessment of the value of your claim.
          Once you have submitted your executed Ballot, you may change your vote to accept or
 reject the Plan by casting a superseding Ballot so that it is received on or before the Voting
 Deadline. If you cast more than one Ballot voting the same claim prior to the Voting Deadline,
 only the last Ballot timely received by the Debtor’s Balloting Agent will be counted. If the Debtor’s
 Balloting Agent receives more than one Ballot on the same day that are voted inconsistently, such
 Ballots will constitute an acceptance of the Plan. Any Ballot that is illegible or that contains
 insufficient information to permit the identification of the claimant will not be counted.



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Case 18-09108-RLM-11            Doc 1553-1     Filed 08/31/21         EOD 08/31/21 17:54:03     Pg 31 of
                                                   61

 BallotID: [____]
 Case No: 18-9108                                       Claimant: [____]             Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


        This Ballot does not constitute, and shall not be deemed to be, a proof of claim against the
 Debtor or any admission with respect to any claim by the Debtor.
        If the Plan is confirmed by the Bankruptcy Court, it will be binding upon you whether
 or not you vote.


       Item 1. Vote on the Plan. BY ACCEPTING THE PLAN, IF THE PLAN IS
 CONFIRMED, YOU WILL BE DEEMED TO HAVE CONCLUSIVELY, ABSOLUTELY,
 UNCONDITIONALLY, IRREVOCABLY, AND FOREVER AGREED TO THE TERMS
 OF THE PLAN, INCLUDING THE INJUNCTIONS AND EXCULPATIONS IN THE
 PLAN.
          The undersigned Holder of the Class 7 Personal Injury Claim against the Debtor votes to:

                                           (Check one box only)

                 □      Accept the Plan.

                 □      Reject the Plan.




                                                    3
Case 18-09108-RLM-11           Doc 1553-1    Filed 08/31/21         EOD 08/31/21 17:54:03      Pg 32 of
                                                 61
 BallotID: [____]
 Case No: 18-9108                                     Claimant: [____]              Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


         Item 2. Agreements, Certifications, and Acknowledgements. By signing this Ballot, the
 undersigned acknowledges and certifies that the undersigned is the Holder of the Class 7 Personal
 Injury Claim described above or has the power and authority to vote to accept or reject the Plan on
 behalf of such Holder. The undersigned understands that, if this Ballot is validly executed but does
 not indicate either acceptance or rejection of the Plan, this Ballot will be counted as an acceptance
 of the Plan. Additionally, the undersigned understands that if this Ballot is validly executed and
 indicates both acceptance and rejection of the Plan, this Ballot will be counted as an acceptance of
 the Plan.

                                   Name of Claimant _____________________________________


                        Authorized Signature (original, _____________________________________
                                       not electronic)

                                  Name of Signatory _____________________________________

                       If Authorized Agent, Name and _____________________________________
                                                Title

                                      Street Address _____________________________________

                                City, State, Zip Code _____________________________________

                                    Date Completed _____________________________________


 Return this signed ballot on or before the Voting Deadline of November 8, 2021 to:

          https://omniagentsolutions.com/USAG-Ballots

 or

          USA Gymnastics Ballot Processing
          c/o Omni Agent Solutions
          5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367




                                                  4
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                                    EXHIBIT 4

                           Class 8 Ballot (USOPC Claim)
Case 18-09108-RLM-11               Doc 1553-1    Filed 08/31/21        EOD 08/31/21 17:54:03           Pg 34 of
                                                     61

 BallotID: [____]
 Case No: 18-9108                                        Claimant: [____]                  Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION


     In re:                                                   Chapter 11
                               1
     USA GYMNASTICS,                                          Case No. 18-09108-RLM-11

                              Debtor.


                  CLASS 8 BALLOT FOR ACCEPTING OR REJECTING PLAN

         USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11
 case (the “Debtor”), and the Additional Tort Claimants Committee of Sexual Abuse Survivors
 (the “Survivors’ Committee” and, together with the Debtor, the “Plan Proponents”) filed the
 Joint Chapter 11 Plan Of Reorganization Proposed By USA Gymnastics And The Additional Tort
 Claimants Committee Of Sexual Abuse Survivors (the “Plan”) on August 31, 2021. This Ballot is
 submitted to you by the Plan Proponents to enable you to accept or reject the Plan. Capitalized
 terms used in this Ballot that are not otherwise defined herein have the meaning given to them in
 the Plan.
         The Court has approved the Disclosure Statement For Joint Chapter 11 Plan Of
 Reorganization Proposed By USA Gymnastics And The Additional Tort Claimants Committee Of
 Sexual Abuse Survivors (the “Disclosure Statement”). The Disclosure Statement provides
 information to assist you in deciding how to vote your Ballot, and is enclosed with this Ballot. The
 Court’s approval of the Disclosure Statement does not indicate approval of the Plan by the Court.
 Copies of the Disclosure Statement and the Plan are available to download for free at:
 https://omniagentsolutions.com/usagymnastics/.
        You should review the Plan and Disclosure Statement before you vote. You may wish to
 seek legal advice concerning the Plan and your classification and treatment under the Plan. Your
                                                 2
 claim has been placed in Class 8 under the Plan.
         The Plan can be confirmed by the Bankruptcy Court and thereby made binding on you if it
 is accepted by the holders of two-thirds in amount and more than one-half in number of claims in

 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 1099 N. Meridian St., Suite 800, Indianapolis, Indiana 46204.
 2
   With respect to the portion of your Claim that seeks payment of the liquidated amount of $88,983.24,
 such Claim shall be treated as a Class 5 General Unsecured Claim and you shall receive a separate ballot
 pertaining to such Class 5 General Unsecured Claim.
Case 18-09108-RLM-11             Doc 1553-1   Filed 08/31/21        EOD 08/31/21 17:54:03      Pg 35 of
                                                  61

 BallotID: [____]
 Case No: 18-9108                                     Claimant: [____]              Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


 each impaired class that vote on the Plan, and if it otherwise satisfies the requirements of
 Section 1129(a) of the Bankruptcy Code. If not all impaired classes vote to accept the Plan, the
 Bankruptcy Court may nevertheless confirm the Plan if at least one impaired class accepts the Plan
 and the Court finds that the Plan provides fair and equitable treatment to, and does not discriminate
 unfairly against, the class or classes rejecting it, and otherwise satisfies the requirements of
 Section 1129(b) of the Bankruptcy Code.
                             THE VOTING DEADLINE IS NOVEMBER 8, 2021

 You may submit your Ballot using one of two methods: (1) by electronic submission via the
 Balloting Agent’s E-Ballot Platform at https://omniagentsolutions.com/USAG-Ballots, or
 (2) by mail, overnight, or personal delivery to the Balloting Agent at USA Gymnastics Ballot
 Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA
 91367. You are highly encouraged to submit your Ballot via the E-Ballot Platform.
 If your Ballot is submitted via the Balloting Agent’s E-Ballot Platform, it must be actually
 received by the Balloting Agent on or before November 8, 2021 at 11:59 p.m. (ET). If your
 Ballot is submitted via mail, overnight, or personal delivery, it must be actually received by
 the Balloting Agent on or before November 8, 2021 at 5:00 p.m. (ET). If your Ballot is not
 received on or before the Voting Deadline, and such deadline is not extended in the sole and
 absolute discretion of the Plan Proponents, your vote will not be counted for purposes of
 confirmation of the Plan.
 If your Ballot is submitted by any means other than (1) electronic submission via the
 Balloting Agent’s E-Ballot Platform, or (2) mail, overnight, or personal delivery to the
 Balloting Agent’s address listed immediately above, your vote will not be counted for
 purposes of confirmation of the Plan.

       The Plan’s treatment of your Class 8 USOPC Claim is described in full in the Disclosure
 Statement.
         [Under the Plan, the Trust will be created and your Claim will be channeled to the Trust.
 All rights that you have to receive indemnification or reimbursement from the Debtor shall be
 satisfied by granting you the protection of the Channeling Injunction (described in section 12.3 of
 the Plan), which will bar any entity from asserting any claim on account of Sexual Abuse relating
 to the Debtor directly against you. Such claims may only be asserted against the Trust after the
 Effective Date of the Plan. In exchange for the benefit of the Channeling Injunction, your rights to
 receive indemnification or reimbursement from the Debtor, the Estate, or the Reorganized Debtor




                                                  2
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                                                     61

 BallotID: [____]
 Case No: 18-9108                                          Claimant: [____]                Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


 shall be released, and you will not be permitted to recover from the Reorganized Debtor’s Revested
                                                                                   3
 Assets or property acquired by the Reorganized Debtor after the Effective Date.]
         [Under the Plan, all rights that you have to receive indemnification or reimbursement from
 the Debtor under any of the Debtor’s Settling Insurance Policies, with respect to Abuse Claims
 falling under the insurance policies of any Settling Insurer, shall be satisfied by granting you the
 benefit of the Channeling Injunction (described in section 12.3 of the Plan). The Channeling
 Injunction will bar any entity from asserting any claims on account of Sexual Abuse relating to the
 Debtor directly against you, so long as such claims fall under the insurance policies of any Settling
 Insurer. You will retain any rights that you have to receive indemnification or reimbursement from
 the Debtor for Abuse Claims falling under the Debtor CGL Insurance Policies issued by a Non-
 Settling Insurer, but only to the extent that there is coverage under such policies for your Class 8
                  4
 USOPC Claim.]
        [Under the Plan, all rights that you have to reimbursement or indemnification from the
 Debtor are preserved but the sole source of recovery for your Class 8 USOPC Claim shall be from
                                                                     5
 the Debtor CGL Insurance Policies and absolutely no other assets.]
        Because your Class 8 USOPC Claim is unliquidated at this time, your claim is temporarily
 estimated in the amount of $1.00 solely for the purposes of voting and determining acceptances of
 the Plan. This temporary estimation does not reflect any assessment of the value of your claim.
         Once you have submitted your executed Ballot, you may change your vote to accept or
 reject the Plan by casting a superseding Ballot so that it is received on or before the Voting
 Deadline. If you cast more than one Ballot voting the same claim prior to the Voting Deadline,
 only the last Ballot timely received by the Debtor’s Balloting Agent will be counted. If the Debtor’s
 Balloting Agent receives more than one Ballot on the same day that are voted inconsistently, such
 Ballots will constitute an acceptance of the Plan. Any Ballot that is illegible or that contains
 insufficient information to permit the identification of the claimant will not be counted.
        This Ballot does not constitute, and shall not be deemed to be, a proof of claim against the
 Debtor or any admission with respect to any claim by the Debtor.




 3
   To be included in the solicitation version of this Ballot if the Debtor and the Survivors’ Committee jointly
 elect the Full or Partial Settlement Alternative at the Disclosure Statement Hearing and the CGL Insurers
 agree to fund the Total Settlement Demand Amount.
 4
   To be included in the solicitation version of this Ballot if the Debtor and the Survivors’ Committee jointly
 elect the Partial Settlement Option at the Disclosure Statement Hearing.
 5
   To be included in the solicitation version of this Ballot if the Debtor and the Survivors’ Committee jointly
 elect the Litigation Only Alternative at the Disclosure Statement Hearing.


                                                       3
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                                                   61

 BallotID: [____]
 Case No: 18-9108                                       Claimant: [____]             Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


        If the Plan is confirmed by the Bankruptcy Court, it will be binding upon you whether
 or not you vote.
      Item 1. Vote on the Plan. BY ACCEPTING THE PLAN, IF THE PLAN IS
 CONFIRMED, YOU WILL BE DEEMED TO HAVE CONCLUSIVELY, ABSOLUTELY,
 UNCONDITIONALLY, IRREVOCABLY, AND FOREVER AGREED TO THE TERMS
 OF THE PLAN, INCLUDING THE INJUNCTIONS, RELEASES, AND EXCULPATIONS
 IN THE PLAN.
          The undersigned Holder of the Class 8 USOPC Claim votes to:
                                           (Check one box only)

                 □      Accept the Plan.

                 □      Reject the Plan.




                                                    4
Case 18-09108-RLM-11           Doc 1553-1    Filed 08/31/21         EOD 08/31/21 17:54:03     Pg 38 of
                                                 61
 BallotID: [____]
 Case No: 18-9108                                     Claimant: [____]             Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


         Item 2. Agreements, Certifications, and Acknowledgements. By signing this Ballot, the
 undersigned acknowledges and certifies that the undersigned is the Holder of the Class 8 USOPC
 Claim described above or has the power and authority to vote to accept or reject the Plan on behalf
 of such Holder. The undersigned understands that, if this Ballot is validly executed but does not
 indicate either acceptance or rejection of the Plan, this Ballot will be counted as an acceptance of
 the Plan. Additionally, the undersigned understands that if this Ballot is validly executed and
 indicates both acceptance and rejection of the Plan, this Ballot will be counted as an acceptance of
 the Plan.

                                   Name of Claimant _____________________________________


                        Authorized Signature (original, _____________________________________
                                       not electronic)

                                  Name of Signatory _____________________________________

                       If Authorized Agent, Name and _____________________________________
                                                Title

                                      Street Address _____________________________________

                                City, State, Zip Code _____________________________________

                                    Date Completed _____________________________________


 Return this signed ballot on or before the Voting Deadline of November 8, 2021 to:

          https://omniagentsolutions.com/USAG-Ballots

 or

          USA Gymnastics Ballot Processing
          c/o Omni Agent Solutions
          5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367




                                                  5
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                                    EXHIBIT 5

                       Class 9 Ballot (Indemnification Claims)
Case 18-09108-RLM-11               Doc 1553-1    Filed 08/31/21        EOD 08/31/21 17:54:03           Pg 40 of
                                                     61

 BallotID: [____]
 Case No: 18-9108                                        Claimant: [____]                  Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION


     In re:                                                   Chapter 11
                               1
     USA GYMNASTICS,                                          Case No. 18-09108-RLM-11

                              Debtor.


                  CLASS 9 BALLOT FOR ACCEPTING OR REJECTING PLAN

         USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11
 case (the “Debtor”), and the Additional Tort Claimants Committee of Sexual Abuse Survivors
 (the “Survivors’ Committee” and, together with the Debtor, the “Plan Proponents”) filed the
 Joint Chapter 11 Plan Of Reorganization Proposed By USA Gymnastics And The Additional Tort
 Claimants Committee Of Sexual Abuse Survivors (the “Plan”) on August 31, 2021. This Ballot is
 submitted to you by Plan Proponents to enable you to accept or reject the Plan. Capitalized terms
 used in this Ballot that are not otherwise defined herein have the meaning given to them in the
 Plan.
         The Court has approved the Disclosure Statement For Joint Chapter 11 Plan Of
 Reorganization Proposed By USA Gymnastics And The Additional Tort Claimants Committee Of
 Sexual Abuse Survivors (the “Disclosure Statement”). The Disclosure Statement provides
 information to assist you in deciding how to vote your Ballot, and is enclosed with this Ballot. The
 Court’s approval of the Disclosure Statement does not indicate approval of the Plan by the Court.
 Copies of the Disclosure Statement and the Plan are available to download for free at:
 https://omniagentsolutions.com/usagymnastics/.
        You should review the Plan and Disclosure Statement before you vote. You may wish to
 seek legal advice concerning the Plan and your classification and treatment under the Plan. Your
 claim has been placed in Class 9 under the Plan. If you hold more than one Claim in Class 9, you
 must vote all such Claims on this single Ballot.
         The Plan can be confirmed by the Bankruptcy Court and thereby made binding on you if it
 is accepted by the holders of two-thirds in amount and more than one-half in number of claims in
 each impaired class that vote on the Plan, and if it otherwise satisfies the requirements of
 Section 1129(a) of the Bankruptcy Code. If not all impaired classes vote to accept the Plan, the

 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 1099 N. Meridian St., Suite 800, Indianapolis, Indiana 46204.
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                                                     61

 BallotID: [____]
 Case No: 18-9108                                          Claimant: [____]                Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


 Bankruptcy Court may nevertheless confirm the Plan if at least one impaired class accepts the Plan
 and the Court finds that the Plan provides fair and equitable treatment to, and does not discriminate
 unfairly against, the class or classes rejecting it, and otherwise satisfies the requirements of
 Section 1129(b) of the Bankruptcy Code.
                             THE VOTING DEADLINE IS NOVEMBER 8, 2021

 You may submit your Ballot using one of two methods: (1) by electronic submission via the
 Balloting Agent’s E-Ballot Platform at https://omniagentsolutions.com/USAG-Ballots, or
 (2) by mail, overnight, or personal delivery to the Balloting Agent at USA Gymnastics Ballot
 Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA
 91367. You are highly encouraged to submit your Ballot via the E-Ballot Platform.
 If your Ballot is submitted via the Balloting Agent’s E-Ballot Platform, it must be actually
 received by the Balloting Agent on or before November 8, 2021 at 11:59 p.m. (ET). If your
 Ballot is submitted via mail, overnight, or personal delivery, it must be actually received by
 the Balloting Agent on or before November 8, 2021 at 5:00 p.m. (ET). If your Ballot is not
 received on or before the Voting Deadline, and such deadline is not extended in the sole and
 absolute discretion of the Plan Proponents, your vote will not be counted for purposes of
 confirmation of the Plan.
 If your Ballot is submitted by any means other than (1) electronic submission via the
 Balloting Agent’s E-Ballot Platform, or (2) mail, overnight, or personal delivery to the
 Balloting Agent’s address listed immediately above, your vote will not be counted for
 purposes of confirmation of the Plan.

        The Plan’s treatment of your Class 9 Indemnification Claim is described in full in the
 Disclosure Statement.
         [Under the Plan, the Trust will be created and your Claim will be channeled to the Trust.
 All rights that you have to receive indemnification or reimbursement from the Debtor shall be
 satisfied by granting you the protection of the Channeling Injunction (described in section 12.3 of
 the Plan), which will bar any entity from asserting any claim on account of Sexual Abuse relating
 to the Debtor directly against you. Such claims may only be asserted against the Trust after the
 Effective Date of the Plan. In exchange for the benefit of the Channeling Injunction, your rights to
 receive indemnification or reimbursement from the Debtor, the Estate, or the Reorganized Debtor
 shall be released, and you will not be permitted to recover from the Reorganized Debtor’s Revested
                                                                                   2
 Assets or property acquired by the Reorganized Debtor after the Effective Date.]


 2
   To be included in the solicitation version of this Ballot if the Debtor and the Survivors’ Committee jointly
 elect the Full or Partial Settlement Alternative at the Disclosure Statement Hearing and the CGL Insurers
 agree to fund the Total Settlement Demand Amount.


                                                       2
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                                                     61

 BallotID: [____]
 Case No: 18-9108                                          Claimant: [____]                Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


         [Under the Plan, all rights that you have to receive indemnification or reimbursement from
 the Debtor under any of the Debtor’s Settling Insurance Policies, with respect to Abuse Claims
 falling under the insurance policies of any Settling Insurer, shall be satisfied by granting you the
 benefit of the Channeling Injunction (described in section 12.3 of the Plan). The Channeling
 Injunction will bar any entity from asserting any claim on account of Sexual Abuse relating to the
 Debtor directly against you, so long as such claims fall under the insurance policies of any Settling
 Insurer. You will retain any rights that you have to receive indemnification or reimbursement from
 the Debtor for Abuse Claims falling under the Debtor CGL Insurance Policies issued by a Non-
 Settling Insurer, but only to the extent that there is coverage under such policies for your Class 9
                          3
 Indemnification Claim.]
        [Under the Plan, all rights that you have to reimbursement or indemnification from the
 Debtor are preserved but the sole source of recovery for your Class 9 Indemnification Claim shall
                                                                            4
 be from the Debtor CGL Insurance Policies and absolutely no other assets.]
        Because your Class 9 Indemnification Claim is unliquidated at this time, your claim is
 temporarily estimated in the amount of $1.00 solely for the purposes of voting and determining
 acceptances of the Plan. This temporary estimation does not reflect any assessment of the value of
 your claim.
         Once you have submitted your executed Ballot, you may change your vote to accept or
 reject the Plan by casting a superseding Ballot so that it is received on or before the Voting
 Deadline. If you cast more than one Ballot voting the same claim prior to the Voting Deadline,
 only the last Ballot timely received by the Debtor’s Balloting Agent will be counted. If the Debtor’s
 Balloting Agent receives more than one Ballot on the same day that are voted inconsistently, such
 Ballots will constitute an acceptance of the Plan. Any Ballot that is illegible or that contains
 insufficient information to permit the identification of the claimant will not be counted.
        This Ballot does not constitute, and shall not be deemed to be, a proof of claim against the
 Debtor or any admission with respect to any claim by the Debtor.
        If the Plan is confirmed by the Bankruptcy Court, it will be binding upon you whether
 or not you vote.




 3
   To be included in the solicitation version of this Ballot if the Debtor and the Survivors’ Committee jointly
 elect the Partial Settlement Option at the Disclosure Statement Hearing.
 4
   To be included in the solicitation version of this Ballot if the Debtor and the Survivors’ Committee jointly
 elect the Litigation Only Alternative at the Disclosure Statement Hearing.


                                                       3
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                                                   61

 BallotID: [____]
 Case No: 18-9108                                       Claimant: [____]             Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


      Item 1. Vote on the Plan. BY ACCEPTING THE PLAN, IF THE PLAN IS
 CONFIRMED, YOU WILL BE DEEMED TO HAVE CONCLUSIVELY, ABSOLUTELY,
 UNCONDITIONALLY, IRREVOCABLY, AND FOREVER AGREED TO THE TERMS
 OF THE PLAN, INCLUDING THE INJUNCTIONS, RELEASES, AND EXCULPATIONS
 IN THE PLAN.
          The undersigned Holder of a Class 9 Indemnification Claim votes to:
                                           (Check one box only)

                 □      Accept the Plan.

                 □      Reject the Plan.




                                                    4
Case 18-09108-RLM-11           Doc 1553-1    Filed 08/31/21         EOD 08/31/21 17:54:03     Pg 44 of
                                                 61
 BallotID: [____]
 Case No: 18-9108                                     Claimant: [____]             Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


         Item 2. Agreements, Certifications, and Acknowledgements. By signing this Ballot, the
 undersigned acknowledges and certifies that the undersigned is the Holder of a Class 9
 Indemnification Claim or has the power and authority to vote to accept or reject the Plan on behalf
 of such Holder. The undersigned understands that, if this Ballot is validly executed but does not
 indicate either acceptance or rejection of the Plan, this Ballot will be counted as an acceptance of
 the Plan. Additionally, the undersigned understands that if this Ballot is validly executed and
 indicates both acceptance and rejection of the Plan, this Ballot will be counted as an acceptance of
 the Plan.

                                   Name of Claimant _____________________________________


                        Authorized Signature (original, _____________________________________
                                       not electronic)

                                  Name of Signatory _____________________________________

                       If Authorized Agent, Name and _____________________________________
                                                Title

                                      Street Address _____________________________________

                                City, State, Zip Code _____________________________________

                                    Date Completed _____________________________________


 Return this signed ballot on or before the Voting Deadline of November 8, 2021 to:

          https://omniagentsolutions.com/USAG-Ballots

 or

          USA Gymnastics Ballot Processing
          c/o Omni Agent Solutions
          5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367




                                                  5
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                                    EXHIBIT 6

                           Class 10 Ballot (FCR Claim)
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                                                     61
 BallotID: [____]
 Case No: 18-9108                                        Claimant: [____]                  Vote Amount: $1.00
 Debtor: USA Gymnastics
 Claim / Sched. No: [____]


                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION


     In re:                                                   Chapter 11
                               1
     USA GYMNASTICS,                                          Case No. 18-09108-RLM-11

                              Debtor.


                                                                                               2
                 CLASS 10 BALLOT FOR ACCEPTING OR REJECTING PLAN

         USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11
 case (the “Debtor”), and the Additional Tort Claimants Committee of Sexual Abuse Survivors
 (the “Survivors’ Committee” and, together with the Debtor, the “Plan Proponents”) filed the
 Joint Chapter 11 Plan Of Reorganization Proposed By USA Gymnastics And The Additional Tort
 Claimants Committee Of Sexual Abuse Survivors (the “Plan”) on August 31, 2021. This Ballot is
 submitted to you by the Plan Proponents to enable you to accept or reject the Plan. Capitalized
 terms used in this Ballot that are not otherwise defined herein have the meaning given to them in
 the Plan.
         The Court has approved the Disclosure Statement For Joint Chapter 11 Plan Of
 Reorganization Proposed By USA Gymnastics And The Additional Tort Claimants Committee Of
 Sexual Abuse Survivors (the “Disclosure Statement”). The Disclosure Statement provides
 information to assist you in deciding how to vote your Ballot, and is enclosed with this Ballot. The
 Court’s approval of the Disclosure Statement does not indicate approval of the Plan by the Court.
 Copies of the Disclosure Statement and the Plan are available to download for free at:
 https://omniagentsolutions.com/usagymnastics/.
        You should review the Plan and Disclosure Statement before you vote. You may wish to
 seek legal advice concerning the Plan and your classification and treatment under the Plan. Your
 claim has been placed in Class 10 under the Plan.
         The Plan can be confirmed by the Bankruptcy Court and thereby made binding on you if it
 is accepted by the holders of two-thirds in amount and more than one-half in number of claims in
 each impaired class that vote on the Plan, and if it otherwise satisfies the requirements of
 Section 1129(a) of the Bankruptcy Code. If not all impaired classes vote to accept the Plan, the

 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 1099 N. Meridian St., Suite 800, Indianapolis, Indiana 46204.
 2
  This Ballot shall only be solicited if the Debtor and the Survivors’ Committee jointly elect the Full or
 Partial Settlement Alternative at the Disclosure Statement Hearing.
Case 18-09108-RLM-11         Doc 1553-1      Filed 08/31/21     EOD 08/31/21 17:54:03         Pg 47 of
                                                 61



 Bankruptcy Court may nevertheless confirm the Plan if at least one impaired class accepts the Plan
 and the Court finds that the Plan provides fair and equitable treatment to, and does not discriminate
 unfairly against, the class or classes rejecting it, and otherwise satisfies the requirements of
 Section 1129(b) of the Bankruptcy Code.
                      THE VOTING DEADLINE IS NOVEMBER 8, 2021

 You may submit your Ballot using one of two methods: (1) by electronic submission via the
 Balloting Agent’s E-Ballot Platform at https://omniagentsolutions.com/USAG-SABallots, or
 (2) by mail, overnight, or personal delivery to the Balloting Agent at USA Gymnastics Ballot
 Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA
 91367. You are highly encouraged to submit your Ballot via the E-Ballot Platform.
 If your Ballot is submitted via the Balloting Agent’s E-Ballot Platform, it must be actually
 received by the Balloting Agent on or before November 8, 2021 at 11:59 p.m. (ET). If your
 Ballot is submitted via mail, overnight, or personal delivery, it must be actually received by
 the Balloting Agent on or before November 8, 2021 at 5:00 p.m. (ET). If your Ballot is not
 received on or before the Voting Deadline, and such deadline is not extended in the sole and
 absolute discretion of the Plan Proponents, your vote will not be counted for purposes of
 confirmation of the Plan.
 If your Ballot is submitted by any means other than (1) electronic submission via the
 Balloting Agent’s E-Ballot Platform, or (2) mail, overnight, or personal delivery to the
 Balloting Agent’s address listed immediately above, your vote will not be counted for
 purposes of confirmation of the Plan.

         The Plan provides for the establishment of a Trust to make distributions in full satisfaction
 of all Abuse Claims and Future Claims. 1% of the plan payment used to fund the Trust is reserved
 exclusively for Future Claims. If you vote in favor of the Plan, the Future Claimants you represent
 will be subject to the injunctions and releases set forth fully in the Plan and Disclosure Statement.
       Because your claim is unliquidated at this time, your claim is temporarily estimated in the
 amount of $1.00 solely for the purposes of voting and determining acceptances of the Plan. This
 temporary estimation does not reflect any assessment of the value of your claim.
         Once you have submitted your executed Ballot, you may change your vote to accept or
 reject the Plan by casting a superseding Ballot so that it is received on or before the Voting
 Deadline. If you cast more than one Ballot voting the same claim prior to the Voting Deadline,
 only the last Ballot timely received by the Debtor’s Balloting Agent will be counted. If the Debtor’s
 Balloting Agent receives more than one Ballot on the same day that are voted inconsistently, such
 Ballots will constitute an acceptance of the Plan. Any Ballot that is illegible or that contains
 insufficient information to permit the identification of the claimant will not be counted.
        This Ballot does not constitute, and shall not be deemed to be, a proof of claim against the
 Debtor or any admission with respect to any claim by the Debtor.




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                                             61



        If the Plan is confirmed by the Bankruptcy Court, it will be binding upon you whether
 or not you vote.


      Item 1. Vote on the Plan. BY ACCEPTING THE PLAN, IF THE PLAN IS
 CONFIRMED, YOU WILL BE DEEMED TO HAVE CONCLUSIVELY, ABSOLUTELY,
 UNCONDITIONALLY, IRREVOCABLY, AND FOREVER AGREED TO THE TERMS
 OF THE PLAN, INCLUDING THE INJUNCTIONS, RELEASES, AND EXCULPATIONS
 IN THE PLAN.


    The undersigned Holder of the Class 10 FCR Claim against the Debtor votes to:
                                     (Check one box only)
             □    Accept the Plan.

             □    Reject the Plan.




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         Item 2. Agreements, Certifications, and Acknowledgements. By signing this Ballot, the
 undersigned acknowledges and certifies that the undersigned is the Holder of the Class 10 FCR
 Claim described above or has the power and authority to vote to accept or reject the Plan on behalf
 of such Holder. The undersigned understands that, if this Ballot is validly executed but does not
 indicate either acceptance or rejection of the Plan, this Ballot will be counted as an acceptance of
 the Plan. Additionally, the undersigned understands that if this Ballot is validly executed and
 indicates both acceptance and rejection of the Plan, this Ballot will be counted as an acceptance of
 the Plan.

                                 Name of Claimant _____________________________________


                    Authorized Signature (original, _____________________________________
                                   not electronic)

                                Name of Signatory _____________________________________

                   If Authorized Agent, Name and _____________________________________
                                            Title

                                     Street Address _____________________________________

                              City, State, Zip Code _____________________________________

                                   Date Completed _____________________________________


 Return this signed ballot on or before the Voting Deadline of November 8, 2021 to:

        https://omniagentsolutions.com/USAG-SABallots
 or

        USA Gymnastics Ballot Processing
        c/o Omni Agent Solutions
        5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367




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                                    EXHIBIT 7

                              Debtor’s Cover Letter

                              [To be Supplemented]
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                                    EXHIBIT 8

                          Survivors’ Committee’s Letter

                              [To Be Supplemented]
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                                    EXHIBIT 9

                           Confirmation Hearing Notice
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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


     In re:                                                  Chapter 11
                           1
     USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                           Debtor.


                NOTICE OF APPROVAL OF DISCLOSURE STATEMENT,
          CONFIRMATION HEARING, AND PLAN CONFIRMATION PROCEDURES

         PLEASE TAKE NOTICE that by order, entered on [•], 2021 (the “Disclosure Statement
 Order”), the United States Bankruptcy Court for the Southern District of Indiana (the
 “Bankruptcy Court”) has approved the Disclosure Statement For Joint Chapter 11 Plan Of
 Reorganization Proposed By USA Gymnastics And The Additional Tort Claimants Committee Of
 Sexual Abuse Survivors [Dkt. 1552] (the “Disclosure Statement”), filed by USA Gymnastics as
 debtor and debtor in possession (the “Debtor”), and authorized the Debtor and the Additional Tort
 Claimants Committee of Sexual Abuse Survivors to solicit votes with respect to the approval or
 rejection of the Joint Chapter 11 Plan Of Reorganization Proposed By USA Gymnastics And The
 Additional Tort Claimants Committee Of Sexual Abuse Survivors [Dkt. 1551] (the “Plan”),
 attached as Exhibit 1 to the Disclosure Statement.

         PLEASE TAKE FURTHER NOTICE that holders of claims entitled to vote to accept or
 reject the Plan will receive the following materials: (a) this Notice; (b) a copy of the Disclosure
 Statement Order (without exhibits); (c) the Disclosure Statement; (d) the Plan; and (e) a ballot (and
 return envelope) (each, a “Ballot”) to be used in voting to accept or reject the Plan (collectively,
 the “Solicitation Packages”).

         PLEASE TAKE FURTHER NOTICE that the Disclosure Statement Order establishes
 November 8, 2021, as the deadline for the submission of Ballots to accept or reject the Plan
 (the “Voting Deadline”). All Ballots must actually be received by the Debtor’s balloting agent,
 Omni Agent Solutions, Inc. (the “Balloting Agent”), by the Voting Deadline, as noted on the
 Ballot. Failure to follow the instructions set forth on the Ballot may disqualify that Ballot and the
 vote represented thereby.

        PLEASE TAKE FURTHER NOTICE that holders of Class 1 Other Priority Claims, the
 Class 2 PNC Bank Claim, the Class 3 Sharp Claim, Class 4 General Unsecured Convenience
 Claims, and Class 11 Sexual Abuse Claims Filed After The Bar Date are not entitled to vote to
 accept or reject the Plan and, therefore, will receive a notice of non-voting status rather than a


 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 1099 N. Meridian St., Suite 800, Indianapolis, Indiana 46204.
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          2
 Ballot. If you hold claims in one or more of these classes, have timely filed a proof of claim, and
 disagree with the Debtor’s classification of, objection to, or request for estimation of your claim
 and believe you should be entitled to vote on the Plan, then you must file with the Court a motion
 (a “Rule 3018(a) Motion”) for an order pursuant to Rule 3018(a) of the Federal Rules of
 Bankruptcy Procedure (the “Bankruptcy Rules”) temporarily allowing your claim in a different
 amount or a different class for purposes of voting to accept or reject the Plan. All Rule 3018(a)
 Motions must be filed by November 19, 2021 at 11:59 p.m. (prevailing Eastern time). In
 accordance with Bankruptcy Rule 3018, as to any creditor filing a Rule 3018(a) Motion, such
 creditor’s Ballot will not be counted unless temporarily allowed by the Court for voting purposes,
 after notice and a hearing. Rule 3018(a) Motions that are not timely filed and served in the manner
 as set forth above may not be considered.

         PLEASE TAKE FURTHER NOTICE that a hearing to consider confirmation of the Plan
 (the “Confirmation Hearing”) is set for December 8-9, 2021 at 10:00 a.m. (prevailing Eastern
 time), before the Honorable Robyn Moberly, Bankruptcy Judge for the United States Bankruptcy
 Court for the Southern District of Indiana, in person in Courtroom 329, 116 U.S. Courthouse,
 46 East Ohio Street, Indianapolis, Indiana 46204. The Confirmation Hearing may be continued
 from time to time without further notice other than the announcement of the adjourned date at the
 Confirmation Hearing or any continued hearing.

         PLEASE TAKE FURTHER NOTICE that a dial-in telephone number for interested
 parties to listen to the Confirmation Hearing, but not actively participate, is 1-888-273-3658,
 passcode: 9247462#.

        PLEASE TAKE FURTHER NOTICE that, to the extent the Court determines to hold
 the Confirmation Hearing remotely, the Debtor will file (but will not serve) an amended notice of
 the Confirmation Hearing on the Court’s docket, and will also post the amended notice of the
 Confirmation Hearing on its website and on its restructuring website.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the confirmation of the
 Plan must: (a) be in writing, (b) conform to the Bankruptcy Rules, the Local Rules of the United
 States Bankruptcy Court for the Southern District of Indiana, and any orders of the Court, (c) state
 the name and address of the objecting party and the amount and nature of the Claim of such party,
 and (d) state with particularity the basis and nature of any objection to the Plan and, if practicable,
 provide a proposed modification or additional suggested language to amend the Plan in a manner
 that would resolve such objection. Any objections must be filed with the Bankruptcy Court no
 later than November 19, 2021 at 11:59 p.m. (prevailing Eastern time) (the “Plan Objection
 Deadline”), and served so as to be actually received by the parties below on or before the Plan
 Objection Deadline, which service may be through the CM/ECF system, with courtesy copies by
 email:

           (a)      Counsel to the Debtors, Jenner & Block LLP, 353 N. Clark St., Chicago, Illinois
                    60654 (Attn: Catherine Steege (csteege@jenner.com), Dean N. Panos
                    (dpanos@jenner.com), Melissa M. Root (mroot@jenner.com), and Adam T.


 2
     Capitalized terms used herein but not defined shall have the meanings set forth in the Plan.


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                 Swingle (aswingle@jenner.com));

         (b)     Counsel to the Survivors’ Committee, (i) Pachulski Stang Ziehl & Jones LLP,
                 10100 Santa Monica Blvd., 13th Floor, Los Angeles, California 90067 (Attn: James
                 I. Stang (jstang@pszjlaw.com), Ilan D. Scharf (isharf@pszjlaw.com), and Joshua
                 M. Fried (jfried@pszjlaw.com)), and (ii) Rubin & Levin, P.C., 135 N. Pennsylvania
                 Street, Suite 1400, Indianapolis, Indiana 46204 (Attn: Meredith R. Theisen
                 (mtheisen@rubin-levin.net) and Deborah J. Caruso (dcaruso@rubin-levin.net));

         (c)     The Office of the United States Trustee, 101 W. Ohio St., Suite 1000, Indianapolis,
                 Indiana 46204 (Attn: Laura A. DuVall (Laura.DuVall@usdoj.gov)).

      UNLESS AN OBJECTION TO THE PLAN IS TIMELY FILED AND SERVED BY
     NOVEMBER 19, 2021 AT 11:59 P.M. (PREVAILING EASTERN TIME), IT MAY NOT
              BE CONSIDERED AT THE CONFIRMATION HEARING.

         PLEASE TAKE FURTHER NOTICE that copies of the Disclosure Statement, the Plan,
 and      related   documents      may    be    accessed    through     the   case     website
 at: https://omniagentsolutions.com/usagymnastics, or by contacting the Debtor’s attorneys, on
 PACER, or from the Clerk of the Court.

        PLEASE TAKE FURTHER NOTICE THAT THE PLAN PROPOSES CERTAIN
 RELEASES, INJUNCTIONS, AND EXCULPATIONS. In accordance with Bankruptcy Rule
 2002(c)(3), set forth below are the injunctions, exculpations, and releases contained in the Plan:

         [Article XI. Abuse Claimants’ And Future Claimants’ Release. Under the Plan, to
 receive a distribution from the Trust, Abuse Claimants and Future Claimants must execute a full
 and complete general release, as described in Section 11.2.1 of the Plan, of any and all Claims
 arising from or relating to Abuse Claims or Future Claims against the following parties, all of
 whom are identified in the Plan and Disclosure Statement: the Debtor, the Estate, the Reorganized
 Debtor, the Settling Insurers, all Participating Parties, and all known or unknown parties who may
 claim coverage under any insurance policy issued to the Debtor, including the Non-Debtor CGL
 Settling Insurer Covered Persons. By voting in favor of Plan, Abuse Claimants and Future
                                                  3
 Claimants necessarily consent to this release.]

         [Article XII. Channeling Injunction. Under the Plan, certain claims will be channeled
 to the Trust. These Channeled Claims are defined in full in Section 1.1.25 of the Plan, but they
 include the Abuse Claims, FCR Claim, Indemnification Claims, and/or any Claims against a
 Participating Party, a Non-Debtor CGL Settling Insurer Covered Person, or a Settling Insurer that
 arise from, are in connection with, or are related in any way to an Abuse Claim or any of the
 Settling Insurer Policies listed on Exhibit A to the Plan, excepting solely the Personal Injury Claim,



 3
  To be included in the solicitation version of this Confirmation Hearing Notice if the Debtor and the
 Survivors’ Committee jointly elect the Full or Partial Settlement Alternative at the Disclosure Statement
 Hearing.


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 or assert punitive damages, attorneys’ fees and other expenses, alter ego liability, corporate veil
 piercing, or any other basis to disregard an entity’s legal separateness.

         Individuals holding Channeled Claims will be forever and permanently enjoined, stayed,
 barred, and restrained from taking any action to recover on Channeled Claims from any asset not
 held by the Trust. This includes any assets of the Debtor, the Estate, the Reorganized Debtor, any
 Participating Party, any Settling Insurer, and any Non-Debtor CGL Settling Insurer Covered
 Person, as well as any of these entities’ predecessors, successors, assigns, and present and former
 shareholders, affiliates, subsidiaries, employees, agents, brokers, adjusters, managing agents,
 claims agents, underwriting agents, administrators, officers, directors, trustees, partners, attorneys,
 financial advisors, accountants, and consultants, each in their capacities solely as such. However,
 the protection of the Channeling Injunction will not extend to any person who personally
 committed an act or acts of abuse resulting in a claim against the Debtor or a Participating Party.

         If any claimant violates the Channeling Injunction, they may be subject to sanctions
 imposed by the Bankruptcy Court, even after the closure of the Debtor’s chapter 11 case. The
 Channeling Injunction will preclude claimants from pursuing Channeled Claims against the
 entities and assets protected by the Channeling Injunction regardless of whether or not claimants
                                         4
 receive a distribution under the Plan.]

         [Article XII. Settling Insurer Injunction. In addition, under the Plan, the Settling
 Insurers will receive the benefit of the Settling Insurer Injunction. This injunction prohibits any
 and all claimants from asserting against any Settling Insurer and any Non-Debtor CGL Settling
 Insurer Covered Person any claim related to any Abuse Claim or Future Claim, any insurance
 policies issued by the Settling Insurers, or any claim against any Settling Insurer for contribution,
                                                      5
 indemnity, defense, subrogation, or similar relief.]

        Article XIX. Discharge Injunction. If the Plan is confirmed, the Debtor will receive the
 benefit of the discharge injunction provided by Section 524 of the Bankruptcy Code. That
 discharge injunction prohibits any act to collect, recover, or offset any claim against or debt of the
 Debtor that arose before the date the Plan is confirmed.

        Article XIX. Exculpation and Limitation Of Liability. Certain Exculpated Parties will
 be protected from claims arising from or relating to any act or omission in connection with this
 chapter 11 case, the pursuit of confirmation of the Plan, or the administration of the Plan, including
 the exercise of their business judgment and the performance of their fiduciary obligations.

        These Exculpated Parties are defined in Section 1.1.56 of the Plan to include the Debtor,
 the Reorganized Debtor, the Debtor’s Professionals, the FCR, the FCR’s Professionals, the
 Survivors’ Committee, the Survivors’ Committee’s members in their capacities as members of the

 4
  To be included in the solicitation version of this Confirmation Hearing Notice if the Debtor and the
 Survivors’ Committee jointly elect the Full or Partial Settlement Alternative at the Disclosure Statement
 Hearing.
 5
  To be included in the solicitation version of this Confirmation Hearing Notice if the Debtor and the
 Survivors’ Committee jointly elect the Full or Partial Settlement Alternative at the Disclosure Statement
 Hearing.


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 Survivors’ Committee, the Survivors’ Committee’s Professionals, the Mediators, the Settling
 Insurers, and each of their respective Related Persons. The protection of this exculpation and
 limitation of liability will not extend to any person who personally committed an act or acts of
 abuse resulting in a claim against the Debtor. The exculpation and limitation and liability will also
 not apply to any claims arising from willful misconduct or fraud, although the Debtor, the Estate,
 and the Reorganized Debtor will be discharged from liability for any of these acts or omissions
 that occurred prior to confirmation of the Plan.

 Dated: [•], 2021                              Respectfully submitted,

                                               JENNER & BLOCK LLP

                                               By: _________________________
                                               Catherine L. Steege (admitted pro hac vice)
                                               Dean N. Panos (admitted pro hac vice)
                                               Melissa M. Root (#24230-49)
                                               Adam T. Swingle (admitted pro hac vice)
                                               353 N. Clark Street
                                               Chicago, Illinois 60654
                                               (312) 222-9350
                                               csteege@jenner.com
                                               dpanos@jenner.com
                                               mroot@jenner.com
                                               aswingle@jenner.com

                                               Counsel for the Debtor




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                                    EXHIBIT 10

                            Notice of Non-Voting Status
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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


     In re:                                                  Chapter 11
                           1
     USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                           Debtor.


                                NOTICE OF NON-VOTING STATUS

         PLEASE TAKE NOTICE that by order, entered on [•], 2021 (the “Disclosure Statement
 Order”), the United States Bankruptcy Court for the Southern District of Indiana (the
 “Bankruptcy Court”) has approved the Disclosure Statement For Joint Chapter 11 Plan Of
 Reorganization Proposed By USA Gymnastics And The Additional Tort Claimants Committee Of
 Sexual Abuse Survivors [Dkt. 1552] (the “Disclosure Statement”), filed by USA Gymnastics as
 debtor and debtor in possession (the “Debtor”), and authorized the Debtor and the Additional Tort
 Claimants Committee of Sexual Abuse Survivors to solicit votes with respect to the approval or
 rejection of the Joint Chapter 11 Plan Of Reorganization Proposed By USA Gymnastics And The
 Additional Tort Claimants Committee Of Sexual Abuse Survivors [Dkt. 1551] (the “Plan”),
 attached as Exhibit 1 to the Disclosure Statement.

         PLEASE TAKE FURTHER NOTICE that holders of Class 1 Other Priority Claims, the
 Class 2 PNC Bank Claim, the Class 3 Sharp Claim, and Class 4 General Unsecured Convenience
 Claims are not entitled to vote to accept or reject the Plan because they are not impaired under the
 Plan. In addition, holders of Class 11 Sexual Abuse Claims Filed After The Bar Date are not
 entitled to vote on the Plan because they are impaired and not entitled to receive any property
 under the Plan.

         PLEASE TAKE FURTHER NOTICE THAT YOU HAVE BEEN IDENTIFIED AS
 A HOLDER OF A CLAIM IN CLASSES 1, 2, 3, 4, OR 11 UNDER THE PLAN AND
 THEREFORE ARE NOT ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN
 ON ACCOUNT OF SUCH CLAIM. Instead, pursuant to the Disclosure Statement Order, you
 are receiving this notice in lieu of a Solicitation Package containing, among other things, copies
 of the Disclosure Statement and the Plan.

        PLEASE TAKE FURTHER NOTICE that if you have timely filed a proof of claim and
 disagree with the Debtor’s classification of, objection to, or request for estimation of your claim
 and believe you should be entitled to vote on the Plan, then you must file with the Court a motion
 (a “Rule 3018(a) Motion”) for an order pursuant to Rule 3018(a) of the Federal Rules of
 Bankruptcy Procedure (the “Bankruptcy Rules”) temporarily allowing your claim in a different

 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 1099 N. Meridian St., Suite 800, Indianapolis, Indiana 46204.
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 amount or a different class for purposes of voting to accept or reject the Plan. All Rule 3018(a)
 Motions must be filed by November 19, 2021 at 11:59 p.m. (prevailing Eastern time). Rule
 3018(a) Motions that are not timely filed and served in the manner as set forth above may not be
 considered.

         PLEASE TAKE FURTHER NOTICE that a hearing to consider confirmation of the Plan
 (the “Confirmation Hearing”) is set for December 8-9, 2021 at 10:00 a.m. (prevailing Eastern
 time), before the Honorable Robyn Moberly, Bankruptcy Judge for the United States Bankruptcy
 Court for the Southern District of Indiana, in person in Courtroom 329, 116 U.S. Courthouse,
 46 East Ohio Street, Indianapolis, Indiana 46204. The Confirmation Hearing may be continued
 from time to time without further notice other than the announcement of the adjourned date at the
 Confirmation Hearing or any continued hearing.

         PLEASE TAKE FURTHER NOTICE that a dial-in telephone number for interested
 parties to listen to the Confirmation Hearing, but not actively participate, is 1-888-273-3658,
 passcode: 9247462#.

        PLEASE TAKE FURTHER NOTICE that, to the extent the Court determines to hold
 the Confirmation Hearing remotely, the Debtor will file (but will not serve) an amended notice of
 the Confirmation Hearing on the Court’s docket, and will also post the amended notice of the
 Confirmation Hearing on its website and on its restructuring website.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the confirmation of the
 Plan must: (a) be in writing, (b) conform to the Bankruptcy Rules, the Local Rules of the United
 States Bankruptcy Court for the Southern District of Indiana, and any orders of the Court, (c) state
 the name and address of the objecting party and the amount and nature of the Claim of such party,
 and (d) state with particularity the basis and nature of any objection to the Plan and, if practicable,
 provide a proposed modification or additional suggested language to amend the Plan in a manner
 that would resolve such objection. Any objections must be filed with the Bankruptcy Court no
 later than November 19, 2021 at 11:59 p.m. (prevailing Eastern time) (the “Plan Objection
 Deadline”), and served so as to be actually received by the parties below on or before the Plan
 Objection Deadline, which service may be through the CM/ECF system, with courtesy copies by
 email:

        (a)     Counsel to the Debtors, Jenner & Block LLP, 353 N. Clark St., Chicago, Illinois
                60654 (Attn: Catherine Steege (csteege@jenner.com), Dean N. Panos
                (dpanos@jenner.com), Melissa M. Root (mroot@jenner.com), and Adam T.
                Swingle (aswingle@jenner.com));

        (b)     Counsel to the Survivors’ Committee, (i) Pachulski Stang Ziehl & Jones LLP,
                10100 Santa Monica Blvd., 13th Floor, Los Angeles, California 90067 (Attn: James
                I. Stang (jstang@pszjlaw.com), Ilan D. Scharf (isharf@pszjlaw.com), and Joshua
                M. Fried (jfried@pszjlaw.com)), and (ii) Rubin & Levin, P.C., 135 N. Pennsylvania
                Street, Suite 1400, Indianapolis, Indiana 46204 (Attn: Meredith R. Theisen
                (mtheisen@rubin-levin.net) and Deborah J. Caruso (dcaruso@rubin-levin.net));

        (c)     The Office of the United States Trustee, 101 W. Ohio St., Suite 1000, Indianapolis,



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               Indiana 46204 (Attn: Laura A. DuVall (Laura.DuVall@usdoj.gov)).

   UNLESS AN OBJECTION TO THE PLAN IS TIMELY FILED AND SERVED BY
  NOVEMBER 19, 2021 AT 11:59 P.M. (PREVAILING EASTERN TIME), IT MAY NOT
           BE CONSIDERED AT THE CONFIRMATION HEARING.

         PLEASE TAKE FURTHER NOTICE that copies of the Disclosure Statement, the Plan,
 and      related   documents      may    be    accessed    through     the   case     website
 at: https://omniagentsolutions.com/usagymnastics, or by contacting the Debtor’s attorneys, on
 PACER, or from the Clerk of the Court.

 Dated: [•], 2021                          Respectfully submitted,

                                           JENNER & BLOCK LLP

                                           By: _________________________
                                           Catherine L. Steege (admitted pro hac vice)
                                           Dean N. Panos (admitted pro hac vice)
                                           Melissa M. Root (#24230-49)
                                           Adam T. Swingle (admitted pro hac vice)
                                           353 N. Clark Street
                                           Chicago, Illinois 60654
                                           (312) 222-9350
                                           csteege@jenner.com
                                           dpanos@jenner.com
                                           mroot@jenner.com
                                           aswingle@jenner.com

                                           Counsel for the Debtor




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